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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

THOMAS J. KEVIN,                 )
                                 )
                                 )                        Civil Action No. 2:21-cv-00766
          PLAINTIFF,             )
     V.                          )                        Honorable Cathy Bissoon
                                 )
                                                          ELECTRONICALLY FILED
UNITED STATES STEEL CORPORATION )
EXECUTIVE MANAGEMENT             )
SUPPLEMENTAL PENSION PROGRAM, J. )
MICHAEL WILLIAMS,                )
ADMINISTRATOR, AND UNITED        )
STATES STEEL CORPORATION,        )
                                 )
                                 )
          DEFENDANTS.            )


              BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

        More than twenty years ago, the Compensation Committee of the Board of Directors of

United States Steel Corporation (“USS”)1, adopted a resolution amending the Executive

Management Supplemental Pension Program (the “Program”) to exclude Plaintiff Thomas J.

Kevin as a Member of this top hat plan. This action, fully within the Committee’s authority to

designate key managers as Members per the terms of the Program, ended Plaintiff’s entitlement to

accrue more benefits under the Program but did not impact benefits that had already accrued

between 1998 and 2000 when he was designated a Member. When Plaintiff retired in 2020, he

received all benefits he had accrued under the Program.

        Plaintiff now asks this Court to go back in time 21 years to reverse the Committee’s action

removing him from the Program, and order that the Program pay additional benefits to Plaintiff.



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  As noted in Plaintiff’s Complaint, USS had a predecessor Company, USX Corporation. Defendants will refer to
USX where necessary, but otherwise will identify the entities as USS given the commonality between Plaintiff’s
allegations about the Companies.
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But no terms of the Program exist—then, or as amended—that entitle Plaintiff to the additional

benefits he seeks. The crux of Plaintiff’s claim is his objection to the Committee’s decision in

2000 that he contends was unfair. In doing so, he argues that he either should not have been de-

designated from the Program—despite the Committee’s sole authority to do so—or that he should

have been re-designated later because of what he feels were important contributions he made to

the Company, even though only the Committee could take that action and it did not. Neither

remedy is available to Plaintiff pursuant to any statutory theory of relief provided by ERISA, nor

does the law permit the Court to simply ignore the unambiguous terms of the Program.

        As explained to Plaintiff when he challenged this decision pre-suit, the award of more

benefits Plaintiff asks for is unavailable to him. The relief Plaintiff seeks—to supplant the

Committee and Plan Administrator and have the Court make its own determination that he should

be designated as a Member against the terms of the Program—would not have been available to

him in 2000 or at any time since. Even looking at the allegations in the light most favorable to

him, Plaintiff’s Complaint should be dismissed because the law does not allow an award of benefits

to which Plaintiff is not entitled.

        I.      FACTS ALLEGED IN THE COMPLAINT

        Plaintiff was designated as a “Member” of the Program in March 1998 when he was

working as Division Manager-Sheet Products at Gary Works. Doc. No. 1, ¶ 2, Doc. No. 1-3, pp.

26-27. Company representatives explained the Program to Plaintiff, explained how benefits would

be calculated, and asked him to sign an acknowledgment of his participation. Id. at ¶ 25. Plaintiff

knew that his designation was controlled by the Compensation Committee and that benefits under

the Program could change throughout his employment. Id.




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        The Program is a “top hat” plan exempt from complying with the fiduciary provisions of

ERISA.2 Id. at ¶ 18. Although not required to be, the Program’s terms are set forth in plan

documents. Doc. No. 1, Exhibits 1, 2, and 5. According to the terms:

                 The Vice President-Administration, United States Steel and
                 Carnegie Pension Fund, is responsible for the administration of this
                 Program. The administrator shall decide all questions arising out of
                 and relating to the administration of this Program. The decision of
                 the administrator shall be final and conclusive as to all questions of
                 interpretations and application of the Program.

Doc. No. 1-3, Exhibit 5, p. 7.

        Consistent with ERISA’s requirements for top hat plans, only a select group of

management or highly compensated employees were eligible for the Program, which provides

additional retirement benefits based on bonuses paid during Members’ designation periods. Id. at

¶¶ 2, 26. The goal of the Program was to retain key executives and managers through their

retirement. Id. at ¶ 3. The Company could at any time modify, amend, or terminate any or all

provisions of the Program. Id. at Doc. No., pp. 7, 11.

        When Plaintiff was designated as a Member, in 1998, the Program provided that “[t]he

term ‘Member’ as used herein means an employee of USX Corporation (hereinafter ‘the

Corporation’) or a Subsidiary Company who is (a) a member of the Executive Management Group

as established from time to time by the USX Board of Directors or (b) a key manager designated

by name as a ‘Member’ under this Program by the Compensation Committee of the USX Board

of Directors.” Doc. No. 1-3, p. 5.




2
 As will be explained, a “top hat plan” is a species of ERISA plan that covers only a select group of management or
highly compensated employees. See, e.g., Goldstein v. Johnson & Johnson, 251 F.3d 433, 435 (3d Cir. 2001). As
explained by the Third Circuit, it is a “unique animal” which evolved from the view that management-level employees
do not require the same level of protection as other employees. Congress thus exempted top-hat plans from the
funding, vesting, and fiduciary rules that ERISA normally imposes on other benefits plans. Id. at 442.


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       Shortly after his designation, Plaintiff changed jobs when he accepted a move to manage

the Cost Reduction Program at Gary Works. Id. at ¶¶ 7, 29. Plaintiff admits his new job had fewer

responsibilities and required “less time at work.” Id. at Doc No. 1-3, pp. 29-32. Then Plan

Administrator, James Carney, wrote to Plaintiff in February 2000, informing Plaintiff he was being

de-designated as a Member of the Program because of his change in job position. Id. at Doc. No.

1-3, p. 15. Carney told Plaintiff he would not accrue any more benefits under the Program. Id.

       On May 30, 2000, the Compensation Committee adopted a resolution formally adjusting

the Program to include new participants and to exclude others. Id. at ¶ 9. The Committee

specifically de-designated Plaintiff by name in the resolution. Id. USS’s Corporate Secretary

certified the resolution in August 2020. Id. at Doc. No. 1-3, p. 13. Plaintiff was never later re-

designated as a Member by the Committee. Id. at Doc. No. 1-3, pp. 26-27.

       When Plaintiff was de-designated as a Member, in February 2000, the term “Member” was

defined as: “An employee of the Corporation, a Subsidiary Company, or a joint venture is a

Member of [the Program] if he is (a) a member of the Executive Management Group as established

from time to time by the USX Board of Directors, or (b) a key manager designated by name as a

‘Member’ under this Program by the Compensation Committee of the USX Board of Directors.”

Doc. No. 1-3, p. 9. A nearly identical definition of the term “Member” applied when Plaintiff was

initially designated in 1998.

       The Program, as amended, has always defined the term “Member” in this way; the last

amended iteration of the Program states:      “An employee of the Corporation, a Subsidiary

Company, United States Steel and Carnegie Pension Fund, or a joint venture is a Member of [the

Program] if he is: (a) a member of the Executive Management Group as established from time to

time by the United States Steel Corporation Board of Directors, or (b) a key manager designated



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by name as a ‘Member’ under this Program by the Compensation and Organization Committee of

the United States Steel Corporation Board of Directors (the ‘Committee’). Effective March 1,

2011, this Program is closed to new Members.” Doc. No. 1-3, p. 17. Benefit accrual under the

Program was frozen in January 2016, and Plaintiff admits he received that notice. Id. at ¶¶ 33, 56.

       In October 2019, nearing retirement, Plaintiff contacted USS to determine the sum of his

benefit entitlement, which was calculated to include benefits accrued while Plaintiff was

designated as a Member of the Program. Id. at ¶ 4. Plaintiff was provided with a copy of the

February 2000 letter from Plan Administrator Carney informing him that he was de-designated as

a Member under the Program as of March 2000. Id. at ¶ 4.

       In January 2020, Plaintiff appealed the determination of his entitlement to Program

benefits. Id. at Doc. No. 1-3, pp. 29-32. Plaintiff’s appeal claimed that (1) he did not see the

February 2000 letter detailing his de-designation until he appealed the decision, though he admits

it was mailed to the proper address and offered several scenarios under which his wife or neighbors

may have discarded it, (2) no one at USS told him that he stopped accruing benefits as of March

2000, (3) he would have rejected the job change offered by his boss in 1999 had he known he

would be de-designated, (4) his boss, Thomas Cera, did not know that the offered job change

would cause Plaintiff’s de-designation, and (5) he should have been re-designated once he took on

different positions that he contends were key management roles. Id. at ¶ 7.

       He included letters from Cera and other members of management who said they did not

know Plaintiff was de-designated and they would have supported his designation as a Member.

Id. The Plan Administrator responded to Plaintiff’s appeal and informed him that he was ineligible

for more benefits because of his de-designation under the terms of the Program. Id. at ¶ 8.




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       Plaintiff retired from USS in June 2020 and received the benefits he was entitled to under

the Program for his years as a Member. Id. at ¶ 33.

       Plaintiff now brings three claims pursuant to ERISA seeking to recover additional benefits

he alleges should have accrued between 2000 and 2015, the period he was not a designated

Member of the Program: (1) a Section 502(a)(1)(b) claim challenging the Plan Administrator’s

interpretation of the terms of the Program and the determination that he cannot receive additional

benefits; (2) a Section 502(a)(3) claim asking the Court to impose equitable relief, namely to estop

the Program from de-designating him in 2000 and to determine that he has a right to receive

additional benefits because he detrimentally relied on statements made about the Plan and did not

understand that he could be de-designated from the Program at any time; and (3) a Section 510

claim alleging that USS took adverse action against him to interfere with his entitlement to

Program benefits.

       II.      ARGUMENT

       The Court should dismiss Plaintiff’s Complaint in its entirety for failure to state a claim

under ERISA entitling him to relief. His Section 502(a)(1)(b) claim fails as a matter of law because

he cannot show he was entitled to benefits according to the unambiguous Program terms.

Plaintiff’s Section 502(a)(3) claim seeks equitable relief that would require the Court to impose

duties upon the Plan Administrator and Program that are not required by ERISA, and to effectively

re-write the Program terms. Plaintiff’s Section 510 claim fails because he has not identified the

requisite “adverse action” and Plaintiff can only allege a Section 510 claim against USS—not the

Program or the Plan Administrator. But Plaintiff’s Complaint makes it clear that the one “adverse

action”—his voluntary job change in 1999 re-cast as a “demotion”—was not taken with the

specific intent to interfere with his entitlement to benefits, as required. In any event, Plaintiff’s



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alleged Section 510 claim accrued, at the latest, in 2000, and is long since time-barred under the

applicable statute of limitations.

       A.      Plaintiff must plead plausible claims for relief.
       In his Complaint, Plaintiff must show that he is entitled to relief. Fed. R. Civ. P. 8. While

Rule 12 requires the Court to take Plaintiff’s factual averments as true, Plaintiff must allege facts

that “raise a right to relief above the speculative level.” Phillips v. Cnty. of Allegheny, 515 F.3d

224, 232 (3d Cir. 2008). Plaintiff’s Complaint must show that there is a “reasonable expectation

that discovery will reveal evidence of the necessary element[s]” of his causes of action. Id. at 234.

The Supreme Court has instructed litigants that “labels and conclusions” are not enough and,

instead, all elements must be supported by underlying facts. Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007). Where documents are relied on in, or appended to, the complaint, the Court may

consider those materials when determining whether a complaint states a plausible claim. In re

Rockefeller Ctr. Props. Sec. Lit., 184 F.3d 280, 287 (3d Cir. 1999).

       B.      Plaintiff did not meet the unambiguous conditions of the Program to accrue the
               benefits he seeks requiring the dismissal of Count I.
       Plaintiff cannot state a claim under Section 502(a)(1)(b), because he “must demonstrate

that the benefits are actually ‘due’; that is, he . . . must have a right to benefits that is legally

enforceable against the plan.” Hooven v. Exxon Mobil Corp., 465 F.3d 566, 574 (3d Cir. 2006).

A Section 502(a)(1)(b) claim can only challenge the interpretation of ERISA plan terms if those

terms are ambiguous and “capable of more than one objectively reasonable interpretation.”

Zebrowski v. Evonik Degussa Corp. Admin. Comm., 578 F. App’x 89, 94 (3d Cir. 2014), quoting

Baldwin v. Univ. of Pittsburgh Med. Ctr., 636 F.3d 69, 76 (3d Cir. 2011).

       Because it is a “unique animal” exempt from many of the substantive provisions of ERISA,

courts must treat a top hat plan, like the Program, as a unilateral contract, governed by general


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principles of the federal common law of contract. Sikora v. UPMC, 2:12-cv-1860, 2017 U.S. Dist.

LEXIS 3244, *10-12 (W.D. Pa. Jan. 10, 2017), citing Goldstein v. Johnson & Johnson, 251 F.3d

433, 436 (3d Cir. 2001). An employee seeking benefits under a top hat plan cannot receive them

unless he has satisfied each of the binding conditions precedent to the receipt of benefits. Hooven,

465 F.3d at 575.

       Courts review the terms of a top hat plan de novo pursuant to ordinary principals of contract

interpretation but are also required to give full effect to provisions in a top hat plan that grant

discretionary authority to the plan administrator to interpret ambiguous plan terms. Goldstein, 251

at 436. A plan administrator’s exercise of discretion to interpret an ambiguous plan term is, as

Plaintiff suggests in his Complaint, subject to the covenant of good faith and fair dealing that

requires discretion to be exercised reasonably. Id. at 444. That said, Plaintiff pleads no allegation

showing that the Program Administrator interpreted an ambiguous term of the Program.

       Rather, Plaintiff questions how the Program terms define “Member,” and tries to

effectively erase that unambiguous condition precedent to an entitlement of benefits under the

Program—namely that a key manager must be “designated by name as a ‘Member’ under this

Program by the Compensation Committee[.]” Doc. No. 1-3, p. 9. In effect, Plaintiff seeks to re-

write the terms of the Program to remove the operative language “designated by name as a

‘Member’ under this Program by the Compensation Committee” to find ambiguity in the

interpretation of the term “key manager.” But that attempt to find ambiguity in an unambiguous

condition precedent to entitlement to benefits under the Program must be rejected because it would

render meaningless the remaining terms defining “Member.” Grove v. Johnson Controls, Inc.,

176 F. Supp. 3d 455, 475 (M.D. Pa. 2016) (courts must interpret contracts to give reasonable

meaning and effect to all off its provisions), citing 11 Williston on Contracts § 32:5 (4th ed.).



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       Even though he must, Plaintiff does not allege that the Program is ambiguous—his claim

rests on his allegation that the Compensation Committee had to exercise its exclusive authority to

“designate by name” the key managers who would be Members of the Program based on some

objective standard of the type of position held at USS that warrants being considered a “key

manager.” See Doc. No. 1, ¶ 44 (“neither the plan documents nor any other documents relating to

[the Program] delineated any circumstances that would cause exclusion of the designated

Members[.]” and “The Plan Administrator’s specious reason for Plaintiff’s de-designation is also

contradicted by the designation of non-management employees to participate in the Program at the

same time that Plaintiff was being excluded.”)

       In other words, Plaintiff is not claiming the terms of the Program are ambiguous or

challenging an action taken by the Plan Administrator under his authority to interpret plan terms—

the only actions he can take pursuant to Section 502(a)(1)(b). He is challenging the authority of

the Committee to “designate by name” which key managers it desired to entice with enhanced

retirement benefits available pursuant to the plan—because Plaintiff does not believe that criteria

the Committee used when he was de-designated, and later not re-designated, fairly considered his

importance to USS as compared with others who were designated Members.

       Plaintiff admits that he was de-designated by that Committee in 2000 and attaches several

documents showing that decision was made according to the Program’s terms. Id. at ¶ 54. He

concedes that the de-designation excluded him from the Program under its terms. Id. This

undisputed de-designation rendered Plaintiff ineligible to accrue additional Program benefits

unless he was re-designated by the Compensation Committee and identified by name as a

“Member.” Although Plaintiff seeks benefits from the time he was de-designated through his

retirement, he acknowledges that at no point was he re-designated as “Member.”



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       Despite these key admissions, in Count I, Plaintiff asks this Court to ignore the Program

terms and that he cannot show any violation of these terms and award him benefits associated with

his work from 2000 to 2015. At best, the Complaint shows that Plaintiff considers himself to have

held “key manager” positions. He submits that his boss and others felt his role in the company

warranted designation in the Program. But those allegations do not satisfy the terms of the

Program—binding conditions precedent that Plaintiff must meet before he is entitled to benefits.

       Plaintiff’s allegations about an alleged lack of notice that he was de-designated as a

Member (although he admits in his appeal that the letter was mailed to the correct address, see

Doc. No. 1-3, p. 29) and that, if he and/or his bosses had been told that he was not a Member of

the Program, they would have somehow “corrected the problem immediately” are unavailing.

Even if all those things are taken as true, Plaintiff cannot state beyond mere speculation that he

would have been re-designated.

       The Compensation Committee had the sole authority under the terms of the Program to

“designate by name” the key managers who are Members of the Program. Any purely hypothetical

scenario under which Plaintiff and/or his bosses could have or would have persuaded the

Committee to so designate Plaintiff after March 2000 does not prove that any Program terms were

violated making Plaintiff entitled to additional benefits that can be awarded under Section

502(a)(1)(b). As a result, Plaintiff’s Section 502(a)(1)(b) claim must be dismissed for failure to

state a claim for which relief can be granted.

       C.       Plaintiff cannot demonstrate that he is entitled to the equitable relief requested
                requiring dismissal of Count II.

       Plaintiff next asks this Court, in the alternative, to step in for the Compensation Committee

and reverse its decision twenty-one years ago de-designating Plaintiff as a Member. In support of

this position, which would strip the Program of its meaning and treat Plaintiff in a way contrary to


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the Program terms, Plaintiff alleges that he and his supervisors did not know of his de-designation

and thought that he would receive “full benefits” if he continued to work for USS until he was 60

years old. Id. at Prayer for Relief, ¶ D.

       But Plaintiff does not establish the essential elements of the equitable claim and cannot

recover benefits defined by contract based on fairness principles or alleged procedural deficiencies

not required by ERISA.

           1.   Plaintiff cannot advance a Section 502(a)(3) claim for equitable relief that
                overrides plan language because claims based on disagreements about
                interpretation of plan terms are exclusively brought under Section 502(a)(1)(b).

       Plaintiff cannot state his Section 502(a)(3) claim for equitable relief if (1) he can show no

contractual right to the payment of the benefits he now seeks, (2) his requested relief would divest

the Compensation Committee of the authority specifically granted to it by the unambiguous terms

of the Program and replace it with some non-existent criteria that Plaintiff alleges should be

implied in the Program, and (3) his claim is not based on any duty or obligation found under

ERISA. Plaintiff has not stated a claim for appropriate equitable relief that properly considers the

“special nature and purpose of employee benefit plans,” and that respects the “policy choices

reflected in the inclusion of certain remedies and the exclusion of others” making it subject to

dismissal. Varity Corp. v. Howe, 516 U.S. 489, 515 (1996).

       Plaintiff’s asserted justification for the equitable relief he requests is that Plaintiff and his

supervisors never received notice of his de-designation from the Program. Doc. No. 1, ¶ 54. But

ERISA does not require that a plan participant’s supervisor be provided with notice about

eligibility for benefits under a top hat plan. Likewise, ERISA contains no requirement that top hat

plan sponsors ensure not just that notices about eligibility for top hat plan participants be sent, but

that they also must affirmatively ensure that such notices are received and that plan participants



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understand every term of the plan. Allowing plaintiffs to proceed with claims for this type of

equitable relief would turn on its head the express Congressional policy embodied in the

purposeful inclusion and exclusion of different requirements for different plans.                Plan

administrators of top hat plans have no fiduciary duties to participants like the duties suggested by

Plaintiff here.

        At its essence, Plaintiff’s Complaint rests upon his theory that the Plan Administrator’s

interpretation of the Program is unfair and incorrect because Plaintiff was not designated as a

Member during years in which he feels he held positions within the company important enough to

warrant his designation. Section 502(a)(3) is simply not a vehicle for any plaintiff who believes

that a plan interpretation was not fair. The exclusive statutory remedy for a plaintiff who disagrees

with a determination of benefits based on a plan interpretation is Section 502(a)(1)(b), which is

foreclosed to Plaintiff as discussed in § B, supra. See McCutcheon, 569 U.S. at 99-101 (finding

that while Section 502(a)(3) authorizes equitable relief, it does not permit courts to apply equitable

doctrines or rules of decisions to override plan language).

            2. Plaintiff has not adequately pled equitable estoppel.
        Assuming Plaintiff could establish that the relief he seeks is not exclusively available under

Section 502(a)(1)(b) and that the equitable relief sought is appropriate and can be awarded by this

Court, under limited circumstances Section 502(a)(3) permits beneficiaries of ERISA plans “to

obtain . . . appropriate equitable relief . . . to redress [ERISA] violations or . . . to enforce any

provisions of [ERISA] or the terms of the plan.” 29 U.S.C. § 1132(a)(3).

        In limited circumstances not present here, courts within the Third Circuit have held that

Section 502(a)(3) allows beneficiaries to proceed under an equitable estoppel theory to recover

benefits, but only if they can establish (1) a material representation, (2) reasonable and detrimental

reliance on the representation, and (3) extraordinary circumstances. Burnstein v. Retirement

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Account Plan for Employees of Allegheny Health Educ. and Research Foundation, 334 F.3d 365,

383 (3d Cir. 2003).

       In Count II of his Complaint, Plaintiff asserts a purported Section 502(a)(3) claim against

Defendants, alleging that he “will offer proof demonstrating: (1) material misrepresentations; (2)

reasonable and detrimental reliance upon the representations; and (3) extraordinary circumstances

. . . . .” Doc. No. 1, ¶ 52. The Court should ignore these legal conclusions and instead examine the

factual allegations to see whether Plaintiff has plausibly pled enough to establish each element.

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (“A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.”).

       When those conclusory statements are set aside, Plaintiff is left with an allegation that the

Program was explained to him when he was first designated but he was told that he “did not have

to worry about the details” of the Program until he neared retirement because the benefits “would

change over the course of his employment.” Doc. No. 1, ¶ 25. Plaintiff claims that he asked for a

copy of the Program documents or a written summary plan description, but it was not given to

him. Id. He also asserts that he was not told that he could be de-designated by the Compensation

Committee. Id. As a final point, Plaintiff presents letters from people who worked for USS to

prove that, had they been given notice that Plaintiff was de-designated as a Member, they would

have petitioned for Plaintiff’s re-designation. Id. at Doc. No. 1-3, pp. 29-32.

       Taken as true and given a favorable slant to Plaintiff, these averments are not enough to

show that fairness demands that Plaintiff be given the requested additional Program benefits.

Plaintiff cannot show that he was misled about his entitlement to benefits in the Program; he

received all benefits he was promised and earned under the Program terms. Plaintiff offers nothing



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beyond an allegation that an otherwise true statement led him to wrongfully conclude that he would

be entitled to more benefits under the Program. Even taken as true, there was no material

misrepresentation made to him. Nor does he adequately allege “extraordinary circumstances” as

required to support an estoppel claim pursuant to Section 502(a)(3). Whether styled as Plaintiff’s

alleged “promissory estoppel” theory asserting a material misrepresentation or as equitable

estoppel, Plaintiff has not adequately pled a claim asserting equitable relief available under Section

502(a)(3) because he cannot establish its required elements.

                       a. Plaintiff has not pled a material misrepresentation.

       The alleged material “misrepresentation” on which Plaintiff bases his Section 502(a)(3)

claim occurred when he was “advised that he had been designated a Member of [the Program].”

Doc. No. 1, ¶ 53. Plaintiff alleges he was “informed that he would receive benefits as long as he

worked for USX/USS until he turned age 60.” That information about the Program was accurate.

Plaintiff received benefits based on his time as a Member of the Program upon his retirement after

age 60. Id. at ¶ 33. According to Plaintiff, no promise was made that he would be eligible to

accrue benefits his entire career.

       Instead, Plaintiff’s Section 502(a)(3) claim hinges on “what was not explained to Plaintiff,”

specifically, “that he was designated a ‘Member’ because of his job title as Division Manager and,

if he did not hold that title, he could be excluded from the Program after his eligibility was

established” and that “Plaintiff was also never told that, even though he was designated a Member,

he could lose his membership if de-designated by the Compensation Committee of the USX Board

of Directors.” Id. at ¶ 25.

       Plaintiff asserts that he requested, but was never given, plan documents for the Program.

Id. He does not allege that he was told there were no plan documents or that he could not have



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them, rather he alleges he was told that he “did not have to worry about the details of [the Program]

until he near[ed] retirement since the benefits thereunder would change over the course of his

employment[.]” Id. Importantly, Plaintiff does not claim that he was led to believe that plan

documents did not exist for the Program, or that he requested documents from the Plan

Administrator and was denied. And he makes no allegation that he was given any information that

was inconsistent with or contradictory to the terms of the Plan—Plaintiff’s allegations only show

he was not told about all of the terms of the Plan in his initial conversations with his bosses after

being designated as a Member.

       These allegations, even with the benefit of the presumption of truth required at the pleading

stage, are not material representations or misrepresentations that can support a Section 502(a)(3)

claim. Cf. 29 U.S.C. § 1101 (providing that top hat plans are exempt from certain substantive

requirements of ERISA, including fiduciary duties and the requirement of written plan

documents.). A statement, even if misleading, is not enough to support an equitable claim unless

“there is a substantial likelihood that it would mislead a reasonable employee in making an

adequately informed retirement decision” or “a harmful decision regarding benefits.” In re Unisys

Corp. Retiree Med. Benefits ERISA Litig., 579 F.3d 220, 229 (3d Cir. 2009).

       If Plaintiff’s Section 502(a)(3) claim depends on his allegations that he was not provided

with complete information in 1998 when he was designated as a Member of the Program,

Plaintiff’s only remedy for that claim resides in Section 502(a)(1)(A)—which provides that plan

participants can bring civil actions if specific information requested about the plan is withheld, the

remedy for which is to be furnished with the requested information. 29 U.S.C. § 1132(a)(1)(A)

and (c). Otherwise, ERISA plan participants “have a duty to inform themselves of the details

provided in their plans.” Jordan v. Fed. Exp. Corp., 116 F.3d 1005, 1016 (3d Cir. 1997).



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       Top hat plans, in particular, are specifically exempted from most of ERISA’s substantive

protections afforded to participants in other ERISA plans, because the participants in top hat plans

have to be “a select group of management or highly compensated employees” found as a matter of

policy to possess greater bargaining power in the terms and conditions of their employment and

compensation. See Sikora, 2017 U.S. Dist. LEXIS 3244 at *20 (“Participants in a top hat plan,

like [plaintiff], are assumed to be high-level executives—financially sophisticated employees who

possess significant bargaining power to understand and negotiate the particular terms and rights of

their compensation packages.”).

       Plaintiff’s claim for equitable relief is inconsistent with the policy decisions of Congress

on top hat plans. He is not entitled to equitable relief when the allegations in his Complaint show

he, at best, remained ambivalent about what was in plan documents he knew existed for twenty

years but failed to seek diligently.

                       b. Plaintiff has not pled detrimental reliance.

       Even if Plaintiff was told information about the Program that could be a material

representation or a material misrepresentation, he has not adequately pled that he reasonably relied

on that information to his detriment by remaining employed by USS after he was de-designated.

Courts examining whether detrimental reliance has been sufficiently pled look to two subfactors:

reasonableness and injury. Curcio v. John Hancock Mut. Life Ins., 33 F.3d 226, 237 (3d Cir. 1994).

       Plaintiff cannot recover if he unreasonably failed to act. Plaintiff’s Section 502(a)(3) claim

is wholly premised on information he alleges he did not know: he did not know he could be de-

designated (Doc. No. 1, ¶ 25); he did not know he was de-designated in March 2000 (Id. at ¶ 54);

and “[n]o one explained to him at the time he entered the Program that he could lose his

Membership in the Program after he had been designated and the circumstances that could/would



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result in his exclusion under the Program.” Id. at ¶ 55. Although Plaintiff alleges he asked about

plan documents for the Program in 1998, he allowed more than twenty years to pass without ever

making another inquiry or formal request for them. Id.

       Because ERISA plan participants “have a duty to inform themselves of the details provided

in their plans[,]” Jordan, 116 F.3d at 1016, and because Plaintiff’s Section 502(a)(3) claim is not

based on information that he was given about the Program—but is based on alleged actions he

could have or might have taken based on information he never knew or understood about the

Program and did not actively seek to clarify for himself—he has not adequately pled that it was

reasonable for him to rely on the incomplete information he was provided. Especially because, as

a top hat plan participant, Plaintiff is presumed to possess a higher level of sophistication about

financial matters. Sikora, 2017 U.S. Dist. LEXIS 3244 at *20. Plaintiff’s reliance was not

reasonable under these circumstances.

                       c. Plaintiff has not pled extraordinary circumstances.

       Although there is no specific one-size-fits-all definition of “extraordinary circumstances,”

the Court of Appeals for the Third Circuit has summarized the issue as such: “extraordinary

circumstances can arise where there are affirmative acts of fraud, where there is a network of

misrepresentations over an extended course of dealing, or where particular plaintiffs are especially

vulnerable.” Pell v. E.I. DuPont de Nemours & Co. Inc., 539 F.3d 292, 303 (3d Cir. 2008) (internal

citations omitted).

       Again, the crux of Plaintiff’s Section 502(a)(3) claim, including his basis to assert

“extraordinary circumstances,” is his misplaced contention that he and his supervisors were owed

extra, specific information (not required to be provided pursuant to ERISA, unless requested, nor

under the Program) about the Program, and not that he, as a Program participant, had an obligation



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to inform himself of the terms and conditions required to realize benefits under the Program. Cf.

Jordan, 116 F.3d at 1016. Plaintiff alleged no facts to support a finding of extraordinary

circumstances and instead concludes that “upon information and belief . . . Defendants kept the

information about his de-designation concealed3 from Plaintiff (and his supervisors) over the

course of his employment[,]” because “the matter involved a significant amount of money.” Doc.

No.1, ¶¶ 53-54. His own admissions that he could have received the letter telling him that he was

de-designated show that these conclusions should be ignored, leaving him with, at most, alleged

administrative lapses.

         The Third Circuit consistently rejects “estoppel claims based on simple ERISA reporting

errors or disclosure violations.” Kurz, 96 F.3d at 1553-54. Instead, Section 502(a)(3) claims must

allege extraordinary circumstances “amounting to fraud or bad faith.” Jenkins v. Union Labor Life

Ins. Co., Inc., 900 F. Supp. 2d 534, 552 (E.D. Pa. 2012). If the Third Circuit rejects estoppel claims

based on “reporting errors or disclosure violations” where ERISA imposes a fiduciary duty related

to such reports or disclosures, it follows that an estoppel claim based on the same type of alleged

conduct cannot adequately state a claim for a top hat plan that is not even subject to such

requirements. 29 U.S.C. § 1101; see also Kurz v. Phila. Elec. Co., 96 F.3d 1544, 1553 (3d Cir.

1996) (“we have consistently rejected estoppel claims based on simple ERISA reporting errors or

disclosure violations, such as a variation between a plan summary and the plan itself, or an

omission in the disclosure documents.”).

         Plaintiff does not allege that any representatives of Defendants gave him inaccurate

information or stated anything about the Program that was not true. The “summaries” given in the


3
   Plaintiff does not specifically allege fraudulent conduct, but to the extent that his allegation of purposeful
concealment of his de-designation from the Program purports to set forth an allegation sounding in fraud, Plaintiff has
to plead it with particularity and cannot rely on a statement set forth “upon information and belief.” Fed. R. Civ. P.
9.

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context of this top hat plan were given by alleged statements by Mr. Wilheim and Mr. Koloski—

and those summary statements did not have to provide Plaintiff with all of the information in the

plan documents for Defendants to avoid liability for estoppel. Doc. No. 1, ¶ 25. Plaintiff’s

allegations of “extraordinary circumstances” because he and his supervisors were unaware of his

de-designation from the Program and because the matter “involved a significant amount of money”

do not come close to setting forth the type of intentional, bad-faith conduct required. Jordan v.

Federal Express Corp., 116 F.3d 1005, 1011 (3d Cir. 1997) (“extraordinary circumstances

generally involve acts of bad faith on the part of the employer[.]”).

       D.      Count III, Plaintiff’s claim under Section 510 for alleged wrongful interference
               with his claim for benefits, must be dismissed.
       Plaintiff alleges that Defendants wronged him in varied ways to support his Section 510

claim for interference with his entitlement to benefits under the Program. Yet he only pleads one

potential “adverse action” taken by USS, the only Defendant against whom he can raise this claim:

an alleged “demotion” in 1999 (although his change in position at the time was voluntarily

accepted and not taken at the direction of USS). And despite claiming that this change was taken

to deprive him of benefits, he admits that his supervisor did not intend to impact his designation

as a Member and he willingly accepted the position meaning that no discriminatory action

occurred. In any event, his claim based on such alleged adverse action accrued more than twenty

years ago and has long been time-barred showing that this claim must be dismissed with prejudice.

               1.      Plaintiff has not alleged the requisite intentional adverse action.

       Section 510 does not make it illegal to change an employee’s work in all instances, even if

it makes an employee ineligible for benefits; only “unscrupulous” conduct is prohibited. Haberern

v. Kaupp Vascular Surgeons Ltd. Defined Benefit Pension Plan, 24 F.3d 1491, 1502-1503 (3d Cir.

1994). And the “unscrupulous conduct” must be tied to an adverse action that affects the


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employee-employer relationship. See McMurtrie v. Speciality Minerals, Inc., CIVIL ACTION

NO. 09-cv-944, 2009 U.S. Dist. LEXIS 73856, *14, citing Fischer v. Phila. Elec. Co., 96 F.3d

1533, 1543 (3d Cir. 1996) (Section 510 ERISA claims are “limited to actions affecting the

employer-employee relationship, not mere changes in the level of benefits.”)

       The grounds for a wrongful interference claim under Section 510 are narrow because a

plan sponsor retains the “unfettered right to alter its promises” for benefits so long as it follows

the procedures set forth in the plan. Inter-Modal Rail Emps. Ass’n v. Atchison, Topeka & Santa

Fe R.R. Co., 520 U.S. 510, 514 (1997). Mere denial of benefits is not enough to adequately plead

an adverse action supporting a Section 510 claim for interference. Id.

       To adequately plead an adverse action under Section 510, Plaintiff must show Defendants

intentionally discriminated against him in a manner affecting the employer-employee relationship.

Gavalik v. Continental Can Co., 812 F.2d 834, 851 (3d Cir. 1987). A prima facie case of

interference with benefits under Section 510 requires a plaintiff to show (1) prohibited employer

conduct, (2) taken to interfere, (3) with the attainment of any right to which the employee may be

entitled. Becker v. Mack Trucks, 281 F.3d 372, 379 (3d Cir. 2002), citing Gavalik, 812 F.2d at

852.

       Plaintiff alleges that these are the “adverse actions” taken by Defendants in violation of

Section 510:

           De-designating him from the Program;
           Failing to provide a plan document for the Program;
           A “demotion” to a Manager-Commercial Product Development Position after
            accepting a Special Assignment as requested by his supervisor, Thomas Cera;
           Assigning Plaintiff to the Manager-Commercial Product Development Position;
           Failing to tell Plaintiff and/or his supervisor that this step-down would cause his de-
            designation;
           Treating Plaintiff differently than other Members of the Program he alleges were
            similarly situated; and


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            Never re-designating Plaintiff as a Member of the Program when he assumed positions
             that he argues warranted his designation as a Member.

Doc. No. 1, ¶ 62.

       The only alleged “adverse action” pled by Plaintiff that could sustain a plausible Section

510 claim for interference is his alleged “demotion” and change in position when Thomas Cera

offered him a “Special Assignment.” The other “adverse actions” alleged in Plaintiff’s Complaint

relate specifically to administration of the Program and interpretation of Program terms. Relief

for those actions is not properly stated under Section 510 but is instead confined to claims brought

under Section 502(a). Rea v. Hershey Co. 2005 Enhanced Mut. Separation Plan, CIVIL No. 1:CV-

06-1920, 2007 U.S. Dist. LEXIS 17783, *10-11 (M.D. Pa. Mar. 12, 2007) (citing decisions holding

that plaintiff must allege an adverse change to the plaintiff’s employment status); see also

Haberern, 24 F.2d 1491, 1503, quoting McGath v. Auto-Body N. Shore, Inc., 7 F.3d 665 (7th Cir.

1993) (“This means that a fundamental prerequisite to a § 510 action is an allegation that the

employer-employee relationship, and not merely the pension plan, was changed in some

discriminatory or wrongful way.”).

       That said, Plaintiff’s claim still fails because he has not pled that Cera or USS changed his

position with the intent to interfere with his entitlement to benefits. Richardson v. CSS Indus.,

Civil Action No. 08-3900, 2009 U.S. Dist. LEXIS 42377, * 7 (E.D. Pa. May 13, 2009) (granting

motion to dismiss Section 510 failure to promote claim because the plaintiff had alleged no facts

to support that the defendant failed to promote him “for the purpose of interfering with any of his

employee benefits.”) (emphasis original).

       In fact, within the documents Plaintiff appends to his Complaint as exhibits, he includes a

statement from Thomas Cera, who requested that he fill a different position within USS in 1999.

Based on the statement provided by Cera, Cera was unaware that the proposed change in Plaintiff’s

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position could, or would, lead to the Compensation Committee de-designating Plaintiff as a

Member of the Program. As a result, the “adverse action” alleged—Plaintiff’s change in position

in 1999—cannot have been intentionally taken to interfere with his entitlement to benefits under

the Program.

       Plaintiff also tries to prop up his claim by challenging the de-designation itself and saying

he should have been re-designated when he held different positions. But the Compensation

Committee’s decision to de-designate Plaintiff and subsequent decisions to not re-designate

Plaintiff when he moved into different roles are plan decisions—not adverse employment actions

that can be challenged under Section 510.

               2.      Plaintiff’s Section 510 claim is time-barred because he waited two decades
                       to file a claim subject to a two-year statute of limitation.

       Plaintiff’s Section 510 is time-barred in any event because his potential claim accrued long

ago when Plaintiff alleges he was “demoted” with the intent to interfere with his entitlement to

Program benefits. Courts cannot look to ERISA for the time limit to bring claims because Section

510 does not have a specific statute of limitations. Instead, the period is determined by the statute

of limitations governing the most analogous state law cause of action. Gavalik, 812 F.2d 834, 843

(3d Cir. 1987). Section 510 claims sound in the employment relationship and are like claims

alleging employment discrimination. Id. at 846.

       As this Court knows, Pennsylvania workers have two years after an alleged adverse

employment action to sue. Raleigh v. Westinghouse Elec. Corp., 550 A.2d 1013, 1014 (Pa. Super.

Ct. 1988), appeal denied 563 A.2d 499 (1989). Here, the only plausible adverse action Plaintiff

pleads is being “demoted” to a Manager position in December 1999 (although he also alleges that

he willingly accepted this position and considered it a “Special Assignment”). Doc. No. 1, ¶¶ 6,

62.

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       At best, Plaintiff had until the end of 2001 to bring a claim pursuant to Section 510 for this

alleged discriminatory action. Even if Plaintiff could somehow overcome the insufficiencies in

his pleadings to claim that this “demotion” was taken intentionally to deprive him of the benefits

of the Program, he cannot state this decades-old claim now, nearly twenty years after the alleged

adverse action was taken. Colitas v. Aventis Cropscience USA Holding II, Inc., 02-cv-932, 2002

U.S. Dist. LEXIS 15110 (E.D. Pa. Aug. 12, 2002) (dismissing with prejudice a Section 510 claim

based on a termination allegedly done to deprive the plaintiff of benefits that was done more than

two years before the plaintiff filed the complaint).

       III.    CONCLUSION

       Plaintiff’s Complaint, and the exhibits attached, show only that Plaintiff wants more

benefits under the top hat plan established for a select group of workers. He acknowledges that he

was designated into the Program and then de-designated under Program terms he includes in his

pleading. ERISA does not allow an award of damages based on Plaintiff’s desires and the plain

language of the Complaint and the Program documents demonstrate that none of Plaintiff’s claims

are viable and discovery will not uncover evidence establishing the elements of the claims.

       As a result, Defendants ask this Court to dismiss Plaintiff’s Complaint, with prejudice and

mark this case closed.

Dated: October 7, 2021                             Respectfully submitted,

                                                   /s/ Marla N. Presley
                                                   Marla N. Presley
                                                   PA ID No. 91020
                                                   Marla.Presley@jacksonlewis.com
                                                   Laura Bunting
                                                   PA ID No. 307274
                                                   Laura.Bunting@jacksonlewis.com
                                                   JACKSON LEWIS P.C.
                                                   1001 Liberty Avenue, Suite 1000
                                                   Pittsburgh, PA 15222

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                               412-232-0404
                               412-232-3441 facsimile

                               Counsel for Defendants




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